                                                                                                    1F .-* -         ''
ProSe1 ev 12/16 Com laintforaCivilCase
           .
                                                                                                         .
                                                                                                                  .g.oy
                                                                                                                      .Fj
                                                                                                                        cE(!*s%njyr.co
                                                                                                                                  .% .,-..zgqy
                                                                                                                                     -       ..
                                                                                                       f
                                                                                                       '
                                                                                                       *
                                                                                                                                 FILED
                                  U NITED STATES D ISTRICT COURT                                       *           i
                                                                                                                   ''
                                                                                                                   f
                                                                                                                   '
                                                                                                                    b-
                                                                                                                  -,. ,
                                                                                                                       ''''
                                                                                                                          i1
                                                                                                                          '!'
                                                                                                                            r:
                                                                                                                             r--t- r
                                                                                                                               l'  !
                                                                                                                                   -
                                                                                                                                   j
                                                                                                                                   .
                                                                                                                                   (
                                                                                                                                   jI,
                                                                                                                                   g 1
                                                                                                                                     ;
                                                                                                                                     -
                                                                                                                                     :
                                                                                                                                     4
                                                                                                                                     .
                                                                                                                                     -
                                                                                                                                     ,
                                                                                                                                     !
                                                                                                                                     :
                                                                                                                                     ;
                                                                                                                                     .
                                                                                                                                     ,-,1:,.'':1.!
                                                                                                                                      1        . 1:
                                                                                                                                                  (
                                                                                                                                                  1
                                                                                                                                                  j
                                                                                                                                                  )
                                                                                                                      ,:hj
                                                                                                                         :,,:                   -. -
                                                                                                                                                   :
                                                                                                                                                   1.
                                                                                                                                                    -
                                                                                                                            at
                                                                                                                            -p                      .!
                                                                                                                                                    ;
                                                                                                                                                    :
                                                                                                                                                    2(
                                                                                                                                                     4
                                                                                                                                                     ,
                                                                                                                                                     .2
                                                                                                                                                      :
                                                                                                                                                      .
                                                                                                                                                      ,1
                                                                                                                                                       ,
                                                                                                                    i;
                                                                                                                     ï-
                                                                                                                      .,
                                                                                                                       ,.,p
                                                                                                                          ;
                                                                                                                          l,:,
                                                                                                                             -;;,r
                                                                                                                                 )     .,..,,- ,,    ,.

                                                               fOrthe
                                                                                                           . $?ft1IJ''.î.
                                                                                                       ., .- .,         '
                                                                                                                        t!
                                                                                                                        .), '
                                                                                                                            rN
                                                                                                                            --k
                                                                                                                              1Ili .
                                                                                                                                   w...'
                                                                                                                                       4
                                                                                                                                       ,' .
                                                                                                                                          '
                                                                                                                                          v.
                                                                                                       I-
                                                                                                        LN
                                                                                                         I:.. -,.
                                                 WesternDi
                                                         stri
                                                            dOfVi
                                                                rgini
                                                                    a (I
                                                                       .
                                                                       V
                                                                       .
                                                                       II
                                                                        .                                  >z:;/. 'y
                                                                                                                  -N .k
                                                                                                                      f .        11 Y
                                                                                                                                           ..

                                                  tl.q
                                                     sk
                                                      q'cy oivksion
                 HerbertL.Singleton III                                 caseN o.
                                                                                        5 :$k c-
                                                                                        .      g- àO'5
                                                                                       (tobeflledinbytheClerk'
                                                                                                             sOA cc,
                                                                                                                   l

                         Plaintt
                               zls)
('
 crffcthefullnameofeachplaintz whoisslingthiscomplaint.                 JuryTrial:(câeckone)       ves I'N xo
Jff/lcnamesofalltheplaintv cannotftinthespaceabove,
pleascwrite 'â'ccattached'
                         'inthespaceandattachanadditional
pagewiththefulllistofnames)
                            -V-

          Robed 0.W ilson (W ilsonLaw PLC)
    MitchellJ.Rotbert(RotbertBusinessLaw P.C.
                         Defendant(s)
(Writethefullzltzr
                 z;cofeachdefendantwhofçbeingsued.J/-fâ,
namesofallthedefendantscannotptinthespaceabove,please
write ''
       secattachcd''in thespaceand Jffac/lanadditionalpage
withthefulllistofnames.
                      )


                                         CO M PLM N T FOR A CW IL CASE

         ThePartiesto ThisComplaint
         A.       ThePlaintifits)
                 Providetheinform ation below foreach plaintiffnam ed illthe com plaint.Attach additionalpagesif
                 needed.
                          Nam e                              HerbertL. Singleton IIl
                          SkeetAddress                       410 Effingerst.
                          City and Colmty                    Harrisonburg,Rockingham
                           Stateand Zip Code                 Virginia 22802
                          TelephoneNumber                    540-478-5725
                          E-mailAddress                      herbsingletonzl@icl
                                                                               oud.com

        B.       TheDefendantts)
                 Providethe inform ation below foreach defendantnamed in the complaint,whetherthedefendantisan
                 individual,agovernmentagency,an organization,oracorporation.Foran individualdefendant,
                 includetheperson'sjob ortitle(fknown).Attach additionalpagesifneeded.

                                                                                                                                         Pagc1of5
          Case 5:18-cv-00105-MFU Document 2 Filed 08/06/18 Page 1 of 5 Pageid#: 3
ProSe1t
      '
      Rev.12/16)ComplaintforaCivilCase

                 DefendantNo.1
                         N ame                     Robed o. W ilson
                         Job orTitle (fknown)      Law yer
                         SkeetAddress              2 south main st,suite B
                         City artd Cotmty          Harrisonburg,Rockingham
                         State and Zip Code        Virgingia,22802
                         TelephoneNllmber          540-430-0122
                         E-m ailAddress(flcnown)   robert@thewil
                                                               sonlaw.com

                 DefendantN ù.2
                         N ame                     MitchellJ.Rotbert
                         Job orTitle (êknown)      Lawyer
                                                                             :
                         StreetAddress             8937 Shady Grove Court
                         City and Colmty           Gaithersburg
                         State andZip Code         Maryland,20877
                         TelephoneNumber           240-600-6467
                         E-m ailAddressgfknown)

                 DefendantN o.3
                         Name
                         Job orTitle (kknowà)
                         SkeetAddress
                         City and County
                         Stateand Zip Code
                         TelephoneNumber
                         E-m ailAddressdfknown)

                 Defendr tN o.4
                         N am e
                         Job orTitle (fknown)
                         StreetAddress
                         City and Cotmty
                         Stateand Zip Code
                         TelephoneNumber
                         E-m ailAddress(lflmown)


                                                                                   Page2of5
         Case 5:18-cv-00105-MFU Document 2 Filed 08/06/18 Page 2 of 5 Pageid#: 4
ProSe1mev.12/16)ComplaztforaCi
                             vilCase
Il.     BasisforJurisdiction

        Federalcoul'
                   tsarecourtsoflimitedjurisdiction(limitedpower).Generally,onlytwotypesofcascscanbe
        heard ilzfederalcourt:casesinvolving afederalquestion and casesinvolviug diversity ofcitizenship ofthe
        parties.Under28U.S.C.j 1331,acasearisinglmdertheUnitedStatesConstitutionorfederallawsortreaties
        isafederalquestion case.Under28U.S.C.j1332,acaseillwhichacitizenofoneStatesuesacitizen of
        anotherStateornation and the amotmtatstake ism orethan $75,000 isadiversity ofcitizenship case.ln a
        diversity ofcitizenship case,no defendantm ay be acitizen ofthesam e Stateasanyplaintiff

        Whatisthebasisforfederalcourtjurisdiction? (checkallthatappl
                                                                   y)
              tZ Federalquestion                        Diversity ofcitizenship


        Fillouttheparagraphsin thissection thatapply to thiscase.

        A.      IftheBasisforJurisdiction IsaFederalQuestion
                Listthespecific federalstatutes,federalteaties,and/orprovisionsoftheUnited StatesConstitution that
                areatissuein thiscase.
                 In 2017 needed l egalrepreseentation filing a complaint,ImetMrRobertwilson a few weeks before my
                 90-dayfiling periodwas up hetold me he boughtan item from the person Iwassuing years before and
                 asked me would Ihave a problem wi  th him represting me afterknowing thatlsaid no because ofthe
                 timeframe and no otherIawyerin Harri   sonburg would representme.Irecieved the clientagreement
                 form from him August3rd,2017 via email,Ireturn itto his officeAugust4th.hewoul  d notIetme askfor
                 my nriginnlnffqrnfl5fli(
                                        1o(1thntwq nflrqlrlnn nnnn IAijlnnd thn nlimntnprnnmentfnrm hq threathnnd tn
        B.      IftheBasisfor Jurisdiction IsDiversity ofCitizenship

                        ThePlaintiffts)
                                Iftheplaintiffisan individual
                                Theplaintiff, (name)                                               ,isacitizen ofthe
                                Stateof(name)

                        b.      Iftheplaintiffisa corporation                                      7
                                Theplaintiff, (name)                                               ,isincorporated
                                lmderthelawsoftheSGteof(name)                                                        ,
                                and hasitsprincipalplaceofbusinessin theStateof(name)


                        (Ifmorethan oneplaintz isnamedinthecomplaint,attachan additionalpageproviding the
                        sameinformationforeachadditionalplaintz )
                        TheDefendantts)
                                Ifthedefendantisan individual
                                The defendant, (name)
                                theStateof(name)
                                (/èrcfgrlnation)
                                                                                                            Page3of 5
         Case 5:18-cv-00105-MFU Document 2 Filed 08/06/18 Page 3 of 5 Pageid#: 5
ProSe1(Rnv.12/16)ComplaintforaCivilCmse


                          b.       Ifthedefendantisacorporation
                                  Thedefendant, (name)                                        ,isincop orated '
                                                                                                              under
                                  thelawsoftheState of(name)                                           ,andhasits
                                  principalplaceofbusinessilltheStateof(name)                                      .
                                   Orisincop oratedunderthelawsofIoreignnation)
                                   andhasitsprincipalplaceofbusinessin (name)

                          (Ifmorethanonedefendantisnamedinthecomplaint,attachanadditionalpageprovidingthe
                          sameinformationforeachadditionaldefendant)
                          '
                          l'
                           he Amotmtin Controversy

                          Theamountin controversy-theam ounttheplaintiffclaimsthe defendantowesorthe am ountat
                          stake-ismorethan $75,000,notcounting interestand costsofcourt,because(emlainll
                          My case Iosttremendousval   ue because ofiIIadvice by Robert0.W ilson & MitchellJ.Rotbed
                          and hadto settle ata very Iow numberbecause ofi  t.




111.    Statem entofClaim

        W ritea shortalldplain statementoftheclaim .Do notm akelegalarguments. Stateasbriefly aspossiblethe
         factsshowingthateach plaintiffisentitledtothe dam agesorotherreliefsought. Statehow each defendantwas
         involved and whateach defendantdidthatcaused theplaintiffharm orviolated theplaintiffsrights,Z cluding
         thedatesandplacesofthatinvolvementorconduct. Ifm orethan oneclaim isasserted,numbereach claim and
        writea shortandplain statem entofeach claim in a separateparagraph.Attach additionalpagesifneeded.
        LegalMalpractice Robertwilson missed staute ofIimitionsby two days because ofpooradviceand made my
        mentaland physicalhealth public.
        LegalMalpracte Mi  tchellJ.RotbertAdvised Robertwilsonand wasacting assecond partneraccording to robert
        in the beginging ofus meeting was hisoId boss.



1V.     Relief

        Statebriefly andprecisely whatdamagesorotherrelieftheplaintiffaslcsthecourtto order. Donotm akelegal
        argum ents. lnclude any basisforèlaiming thatthewrongsalleged areconthming atthepresenttime.Include
        theamountsofany actualdam agesclaimed fortheactsallegedandtllebasisforthese nm ounts.Includeany
        plmitiveorexemplary damagesclaimed,theamotmts,andthereasonsyou claim you areentitledto actualor
        pm itivemoney dam ages.
        Iaskthe courtto orderthe defendents to pay $150,000formy mentaland emotionaldamages.




                                                                                                            Page4of5
         Case 5:18-cv-00105-MFU Document 2 Filed 08/06/18 Page 4 of 5 Pageid#: 6
Prp.kesl-
        txev.12/16)ComplaintforaCivilCase




V.       Certitk ation and Closing

         UnderFederalRuleofCivilProcedure 11,by signingbelow,Icertify to thebestofmy u owledge,itlform ation,
         andbeliefthatthiscomplaint:(1)isnotbeingpresentedforan improperpurpose,suchastoharass,cause
         unnecessarydelay,orneedlessly increasethecostoflitigation;(2)issupportedby existing1aw orby a
         nonfrivolousargumentforextending,modifying,orreversingexistinglaw;(3)thefactualcontentionshave
         evidentiary supportor,ifspeciscally so identifed,willlikely haveevidentiary supportaRerareasonable
         opportunity forfurtherinvestigationordiscovery;and(4)thecomplaintothelwisecomplieswiththe
         requirementsofRule 11.

         A.       ForPartiesW ithoutan Attorney

                  Iagreeto providethe Clerk'sOfficewith any changestom y addresswhere case-relatedpapersmay be
                  served. Itmderstandthatmy failureto keep a currentaddresson filewith the Clerk'sOfficem ay result
                  illthe dism issalofmy case.

                  Date ofsigning:                08/06/2018
                                                                          ......-'
                                                                                 .-'
                                                          .             2'z
                                                              .
                  signature ofPlaintiff                       ô'*   '
                  P                                y                                   -
                   lintedNameofPlaintiff /Ly.q /1 (.. v                                .   .-.
         B.       ForAtlorneys
                                            ez    $   .

                  oateofsigning:            (s        J
                  Signature ofAttorney
                  PzintedName ofAttorney
                  BarNumber
                  Nam eofLaw Firm
                  StreetAddress
                  Stateand Zip Code
                  TelephoneNumber
                  E-mailAddress




                                                                                                           Page5of 5
          Case 5:18-cv-00105-MFU Document 2 Filed 08/06/18 Page 5 of 5 Pageid#: 7
